Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 1 of 36

2 "it Davis Wrig ht 1201 Tha Avene 3046
of Tremaine Lip eae

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Attn: Karlene W. Goller, Esq. March 22, 2011
Vice President & Deputy General Counsel Invoice No. 5959943
Los Angeles Times Communications LLC

145 S. Spring Street, 3rd Floor

Los Angeles, California 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No. 0026175-000389

Pension Amici Matter

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

11/15/10 J. Glasser 2.40 Review records and research and draft media amici
brief seeking access to pension records in Third
Appellate District

11/16/10 J. Glasser 4.60 Research and draft media amici brief seeking access to
pension records in Third Appellate District

1/17/10 J. Glasser 1.80 Research and draft media amici brief seeking access to
pension records in Third Appellate District

11/18/10 J. Glasser 7.60 Research and draft media amici brief seeking access to
pension records

11/19/10 T. Burke 0.30 Provide guidance to J. Glasser regarding theme and
strategic focus of media amici brief

11/19/10 J. Glasser 9.10 Research and draft amici brief seeking access to

pension records; prepare media amici request for
judicial notice exhibits; correspondence with Mr.
Olson and D. Carolan regarding including point on
interchangeability of terms "personal" and individual"

11/20/10 J. Glasser 4.60 Research and draft media amici brief seeking access to
pension records; draft request for judicial notice and
Carolan declaration; correspondence with Mr. Olson
and D. Carolan regarding meaning of language

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

| Anchorage L New York i Seatie
- Bellevue _ Portkane Shanghai
| Los Angeies San Francisco ) Washington, D.C. Wve We COM
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 2 of 36

Li Davis Wrig ht 1201 Tia Avenue 3045
ae Iremaine.ip ee

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
regarding upon order of a court of competent
jurisdiction

11/22/10 T. Burke 3.10 Review and revise draft amici brief and provide further
direction to D. Carolan regarding same

11/23/10 T. Burke 0.80 Review revisions and assist D. Carolan regarding

analysis of additional legal argument to make and
HIPAA authorities to support same

11/23/10 D. Carolan 6.10 Review and revise draft amici brief; review cases
under HIPAA for potential argument to add to brief;
confer with T. Burke regarding same; draft additional
argument regarding interpretation of statutory language
using HIPAA analogy; coordinate amici descriptions
and parties

11/24/10 D. Carolan 3.00 Prepare application in support of amici brief;
coordinate amici parties and descriptions; review
emails from amici regarding description

11/29/10 D. Carolan 2.80 Coordinate final edits to briefs; confer with T. Newton
regarding amici participants and descriptions

11/30/10 D. Carolan 0.30 Follow-up regarding service on amici parties; confer
with clerk regarding same

Total Hours 46.50

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $17,790.50
Total Current Disbursements 0.00
Total Current Invoice $17,100.39
Your Portion of Amount Due at 9.5% $1,690.11
Less Courtesy Discount $(690.11)
Adjusted Current Invoice $1,000.00

PLEASE REMIT WITH PAYMENT

L Anchorage L New York | Seattie
| Bellevue | Portland | Shanghai
| Los Angeles San Prancisce . Vwashington. 0.0. wesw dwt com
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 3 of 36

Ly Davis Wright 120% Td ave
>» Iremainetipe pate,

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

STATEMENT OF ACCOUNT

Current Invoice $1,000.00

Total Balance Due This Matter $1,000.00

PLEASE REMIT WITH PAYMENT

, Anchorage P New York Seatie
| Botte | Portland Shanghai
Los Ancjeles . San Francisco ) Washington. D.C. wea det com

Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 4 of 36

is Davis Wrig ht 1201 Thr Avene 3045
oF Tremaine Lip cate

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962203
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000106

Newsracks/General

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

02/09/11 A. Wickers 0.20 Telephone call with Mr, Marnien regarding letter to
City of Santa Monica about proposed newsrack fee
increase (.2)

02/11/11 A. Wickers 1.20 Prepare letter to City of Santa Monica regarding
proposed fee increase (1.0); communicate with Mr.
Marnien (.2)

02/19/11 A. Wickers 0.90 Finalize letter to City of Santa Monica regarding fee
increase (.9)

Total Hours Worked 2.30

PAYMENT |S DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

L Anchorige | New York 2 Seattle
 Partland Shanghai
San Francisca Washington. O.C. wean dwt Cont

Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 5 of 36

=

Davis Wright

Suite 2200
1201 Third Avenue

cl . Seattle, WA 98101-3045
as Iremaine Lip
206.622.3150 tel
206.757.7700 fax
Federal ID #XX-XXXXXXX
TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE
Total Current Services $1,196.00
Less Agreed Discount (119.60)
Adjusted Current Services 1,076.40
Total Current Disbursements 0.00
Total Current Invoice $1,076.40
SUMMARY BY PROFESSIONAL
Professional Hours Worked Billed Per Hour Bill Amount
Partner
Wickers, A. 2.30 468.00 1,076.40
Total 2.30 1,076.40
Total All Classes 2.30 $1,076.40
STATEMENT OF ACCOUNT
Balance from Previous Statement $2,411.44
Less Payments Received as of 12/20/10 - ($2,274.58)
TRIBUNE CO - ACH
Current Invoice $1,076.40
Total Balance Due This Matter $1,213.26

P Anchorage
| Bellevue
Los Angeles

: New York
_ Porthane
| San Francisco

PLEASE REMIT WITH PAYMENT

i Seaitic
Shangnai
Washington, D.C.

wow dwt. cont
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 6 of 36

ff Davis Wright 1204 Ta Avene
as Iremaine Leip cattle

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962204
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000317
Los Angeles County Sheriff CPRA
0000001714
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/09/11 J. Glasser 6.40 Research and draft mootness brief concerning names of

deputy sheriffs who shot and killed A. Cody Jr. and D.

Collins
02/23/11 K. Sager 2.20 Review and revise motion regarding mootness (1.5);

communicate with J. Glasser regarding civil suits (0.2);
further revisions to motion and communicate with Ms.
Goller regarding same (0.5)

02/23/11 J. Glasser 0.20 Communicate with K. Sager regarding documents from
civil case establishing identities of shooting deputies
and related review of documents

Total Hours Worked 8.80

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

) Anchorage | New York Seattle
| Bellevue | Portland Shanghai
» Los Angeles | San Francisco Washingten. D.C. www. dvtcom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 7 of 36

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

i Davis Wright
at Tremaine Lie

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Total Current Services $3,421.00
Less Agreed Discount (342.10)
Adjusted Current Services 3,078.90
Total Current Disbursements 0.00
Total Current Invoice $3,078.90

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Partner
Sager, K. 2.20 522.00 1,148.40
Total 2.20 1,148.40
Associate
Glasser, J. 6.60 292.50 1,930.50
Total 6.60 1,930.50
Total All Classes 8.80 $3,078.90
STATEMENT OF ACCOUNT
Balance from Previous Statement $15,837.65
Current Invoice $3,078.90
Total Balance Due This Matter $18,916.55

PLEASE REMIT WITH PAYMENT

D Anchorace ) New York Seattle
| Bellevue » Portland Shanghai
Las Angeles | San Francisca Washington, D.C,

vaww. Patcom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 8 of 36

Davis Wright 1a ae
ef Tremaine Lie secon atso tl

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962209
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000386
Michael Omidi, M.D.
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/01/11 K. Sager 0.40 Telephone conference with R. Silverman and
communicate with clients regarding same
02/03/11 K. Sager 0.30 Revise letter regarding Omidi suit and retraction
demands
02/03/11 W. Gonzaque-Taylor 0.10 Communicate with L. Kohn regarding public document
request to California Medical Board
02/04/11 K. Sager 3.20 Draft e-mail correspondence to R. Silverman and

communicate with clients regarding same (.8); review
and revise retraction demand response (.7); review
KTLA e-mail from Silverman (.1); review Silverman
response and communicate with Ms. Goller regarding
same (.2); review materials and revise response to
demand letters (1.4)

02/04/11 L. Kohn 1.00 Revise notice of related cases (.8); communicate with
K. Sager regarding notice (.2)

02/05/11 K. Sager 0.30 Draft response to Silverman e-mail

02/05/11 J. Glasser 0.10 Correspondence with K. Sager regarding January 22
letter and related issues

02/06/11 J. Glasser 0.10 Correspondence with Mr. Hiltzik, Ms. Goller, and K.
Sager regarding Mr. Silverman's January 14 letter

02/07/11 K. Sager 0.20 Communicate with J. Glasser and communicate with
Ms. Goller regarding responses to Silverman

02/07/11 J. Glasser 2.00 Revise letter brief and related correspondence with

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

2 Anchorager : New York Seattle
| Bellevue Portlanc Shanghai
» Los Angeles. » San Francisco Washingtan. O.C. wow dwt conti
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 9 of 36

Lis Davis Wright 1301 Te venue
ae Tremaine Lep “em

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
clients and K. Sager (1.6); call with Ms. Goller
regarding revisions to letter brief (.4)

02/07/11 L. Kohn 0.40 Review documents from California Secretary of State
regarding Beverly Hills Surgery Center, Top Surgeons,
and related entities

02/07/11 W. Gonzaque-Taylor 0.30 Review of incoming documents from the California
Secretary of State
02/12/11 K. Sager 0.30 Communicate with clients regarding Silverman

comments on latest article and communicate with J.
Glasser and L. Kohn regarding same

02/24/11 L. Kohn 0.20 Review fictitious name permits from the California
Medical Board for Top Surgeons and related entities
02/24/11 W. Gonzaque-Taylor 0.20 Review of certified copies of Fictitious Name Permit

applications from the California Medical Board (.1);
prepare email memo to L. Kohn regarding Fictitious
Name Permit applications (.1)

Total Hours Worked 9.10
DISBURSEMENT DETAIL
DESCRIPTION QUANTITY AMOUNT
Photocopy Charges 350 35.00
Outside delivery service - - FEDERAL EXPRESS - 12/28/10 1 8.40
Karlene Goller per G. Pasquale
Total Current Disbursements $43.40

PLEASE REMIT WITH PAYMENT

L Anchorage ' New York Genattle
| Bellevue Portland Shanghai
| Los Angeles San Francicos Washington, 0.0. ww. cht. cont
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 10 of 36

5! Davis Wright
L!! Tremaineitr

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services

Less Agreed Discount

Adjusted Current Services

Total Current Disbursements

Total Current Invoice

$4,035.00
(403.50)
3,631.50

$3,674.90

SUMMARY BY PROFESSIONAL

Professional

Partner
Sager, K.

Total
Associate
Glasser, J.
Kohn, L.

Total
Paralegal
Gonzaque-Taylor, W.
Total

Total All Classes

Hours Worked Billed Per Hour Bill Amount
4.70 522.00 2,453.40

4.70 "2,453.40
2.20 292.50 643.50

1.60 270.00 432.00

a 3.80 "1,075.50
0.60 171.00 102.60

4 0.60 102.60
a 9.10 $3,631.50

PLEASE REMIT WITH PAYMENT

) Anchorage
| Beller
| Los Angeles

» New York
Portlanc
1 San Francisco

Seattle

» Shanghai

Washington. D.C.

wwe Wwhcom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 11 of 36

: y Davis Wright 1204 Td Ava
of Tremaine Lip ee

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

STATEMENT OF ACCOUNT
Balance from Previous Statement $6,958.44
Current Invoice $3,674.90
Total Balance Due This Matter $10,633.34

PLEASE REMIT WITH PAYMENT

| Anchorage | Neve York Seatiic
| Bekevue | Portland | Shanghai
| Los Anceles ) San Francisco Washingtan. D.C. ww chwtcom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 12 of 36

. . Davis Wrig ht 1201 Tid Avenue 3045
as Iremaine Lie ne

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962383
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000004
General/Advice
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/11/11 A. Wickers 0.90 Pre-publication legal review of article (.5); review
letters from counsel (.1); telephone calls with Mr. Lait
regarding draft article (.3)
02/23/11 K. Sager 1.50 Seminar at Los Angeles Times for Special Section
group (No Charge)
Total Hours Worked 2.40

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $468.00
Less Agreed Discount (46.80)
Adjusted Current Services 421.20
Total Current Disbursements 0.00
Total Current Invoice $421.20

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

D Anchorage L New York Seattle ©
| Bellevue _ Portland » Shanghal

» Los Ancetes ) San Francisce Washingtan, 0.0, ww dwt cont
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 13 of 36

Davis Wright 120% Td Ava
remaine Lip “

uD
206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Partner
Sager, K. 1.50 0.00 0.00
Wickers, A. 0.90 468.00 421.20
Total 2.40 421.20
Total All Classes 2.40 $421.20
STATEMENT OF ACCOUNT
Balance from Previous Statement $10,289.68
Current Invoice $421.20
Total Balance Due This Matter $10,710.88

PLEASE REMIT WITH PAYMENT

| Anchorage i New York Seattle
| Belevue | Portland | Shanghai

» Los Angeles » San Francisco : Washington, D.C, was dwt corm
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 14 of 36

Li Davis Wright 1204 he Avene
as 1remaineLipe mae

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn. Julie Xanders Invoice No. 5962385
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000380
Ad Development
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/02/11 A. Wickers 0.10 Respond to inquiry regarding use of names in Times
advertising testimonials
02/11/11 A. Wickers 0.40 Telephone call from Ms. Xanders regarding Daily Deal

program and Readers Choice program (.2);
communicate with DWT advertising and promotions
lawyers regarding same (.2)

02/14/11 K. Baker 0.60 Telephone conference with Ms. Xanders at Los
Angeles Times regarding social coupon service; review
materials regarding same

02/14/11 A. Wickers 0.20 Communicate with Ms. Xanders and K. Baker
regarding Daily Deal issues

02/15/11 R. London 0.10 Teleconference with Ms. Xanders regarding CAN-
SPAM Act/rules

02/16/11 K. Baker 1.30 Research regarding social coupon services and prepare
memo

02/16/11 R. Driscoll 0.50 Email to Ms. Xanders regarding potential issues
relating to "Reader's Choice" feature

02/16/11 A. Wickers 0.80 Communicate with Ms. Xanders regarding Unlawful

Internet Gaming Enforcement Act issues, including
review of statute and proposed contract (.6);
communicate with Ms. Xanders and R. Driscoll
regarding Reader's Choice issues (.2)

02/16/11 R. London 0.50 Research and e-memo to client on CAN-SPAM

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

| Anchorage i New York Seattle
| Bellevue | Portane Shanghai
| Los Angeles ) San Francises Waehingtan. 0.0. wew dwtcom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 15 of 36

Tt Davis Wright 1201 Tavera
ef Tremaine Lip voce ato

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962384
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000369

DCFS

0000001920

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

02/16/11 J. Glasser 0.20 Add new information from Mr. Therolf to SB 39 writ
petition and related correspondence with K. Sager

02/17/11 K. Sager 0.70 Review and revise petition and communicate with J.
Glasser regarding same

02/17/11 J. Glasser 2.60 Revise SB 39 Writ Petition and related correspondence
with K. Sager

02/22/11 K. Sager 1.10 Review petition, research statute and review draft
petition (.7); discussion with J. Glasser regarding
petition and proper procedure (.4)

02/23/11 J. Glasser 0.10 Correspondence with K. Sager regarding SB 39
procedure for violations by family law agency

02/24/11 K. Sager 0.50 Review statutes regarding disclosure of deceased child
information

02/24/11 J. Glasser 4.50 Consult regarding procedure for challenging an
agency's violations of SB 39 and related
correspondence (.5); confer with K. Sager regarding
SB 39 petition (.1); correspondence with Mr. Therolf
concerning SB 39 requests in 2008 and 2009 (.1);
revise SB 39 lawsuit and related correspondence with
K. Sager (3.8)

02/25/11 K. Sager 0.30 Discussion with J. Glasser regarding procedural issues

02/25/11 J. Glasser 0.60 Call regarding procedure for bringing SB 39 petition

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

. Anchorage p New York Seattle
| Bellevue » Portland | Shanghai
) Los Ancetes » San Francisco Washington. D.C. we. cwtcorm
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 16 of 36

Davis Wright

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

DESCRIPTION OF SERVICES

i *
uD
Tremaine tLe

DATE PROFESSIONAL TIME
02/27/11 K. Sager 1.70
02/27/11 J. Glasser 0.10
02/28/11 K. Sager 0.40
02/28/11 J. Glasser 2.20

Total Hours Worked 15.00

and related issues and conferring with K. Sager
Research $B39 issues and review and revise CPRA
petition against DCFS (1.5); communicate with Ms.
Goller and J. Glasser (.2)

Consult regarding procedure for bringing SB 39
petition

Communicate with J. Glasser regarding petition (.2);
further communication with J. Glasser regarding
petition, including addition of federal statute (.2)
Research Elijah S. and CAPTA, revise SB 39 lawsuit,
and related correspondence with Ms. Goller, Mr.
Therolf, and K. Sager

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services
Less Agreed Discount
Adjusted Current Services

Total Current Disbursements

Total Current Invoice

$6,073.50
(607.35)
5,466.15

$5,466.15

SUMMARY BY PROFESSIONAL

Professional

Partner
Sager, K.

Total
Associate
Glasser, J.

Hours Worked Billed Per Hour Bill Amount
4.70 522.00 2,453.40

4.70 "2,453.40
10.30 292.50 3,012.75

PLEASE REMIT WITH PAYMENT

| New York : Seattie

_ Portland

D Anchorage
| Getlevue Shanghai

) Los Angeles | San Francisco

Wasningtan, D.C,

werw dwecam
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 17 of 36

Davis Wright 120 Td Ave
remaine tte “ .

L

up
206.622.3150 tel
206.757.7700 fax

Federal 1D #XX-XXXXXXX

Total 10.30 3,012.75
Total All Classes 15.00 $5,466.15
STATEMENT OF ACCOUNT
Balance from Previous Statement $3,330.11
Current Invoice $5,466.15
Total Balance Due This Matter $8,796.26

PLEASE REMIT WITH PAYMENT

i Anchorage | Nev York Seattle
\ Biohayune | Portland Shanghai

| Los Angeles ) San Francisce Washington. O.C. wiviw. chwt.oom
Case 08-13141-BLS

r 8 Davis Wright
Li! Tremaine cir

Doc 10056-2 Filed 10/24/11 Page 18 of 36

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
Act/rules
02/17/11 K. Baker 0.70 Telephone conference with Ms. Xanders regarding
memo on open issues
02/19/11 K. Baker 2.20 Prepare comments to merchant agreement for social
coupon service
02/21/11 K. Baker 1.10 Telephone conference with Ms. Xanders regarding
merchant agreement revisions
02/23/11 K. Baker 0.70 Analyze FAQs for Merchant Agreement; prepare
memo to Ms. Xanders regarding same
02/23/11 K. Sager 0.30 Discussion with Ms. Goller and Ms. Xanders regarding
advertising issues
02/24/11 R. London 0.10 Review petition for declaratory ruling filed with FCC
regarding potential liability for third-party
vendor/dealer telemarketing violations, draft and
transmit e-memo to client regarding same
Total Hours Worked 9.60
TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE
Total Current Services $4,533.00
Less Agreed Discount (453.30)
Adjusted Current Services 4,079.70
Total Current Disbursements 0.00
Total Current Invoice $4,079.70
SUMMARY BY PROFESSIONAL
Professional Hours Worked Billed Per Hour Bill Amount
Partner
Baker, K. 6.60 409.50 2,702.70
Driscoll, R. 0.50 432.00 216.00
PLEASE REMIT WITH PAYMENT
» Anchorage » New York Seattle
, Boleyvue : Portland | Shanghai

| Las Angeles

| San Francisco | Washington. D.C.

www dwtcom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 19 of 36

12 Davis Wright 124 Td Avera
af Tremaine Lie - eopaicou

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Sager, K. 0.30 522.00 156.60
Wickers, A. 1.50 468.00 702.00
Total 8.90 3,777.30
Of_Counsel
London, R. 0.70 432.00 302.40
Total 0.70 302.40
Total All Classes 9.60 $4,079.70
STATEMENT OF ACCOUNT
Balance from Previous Statement $1,031.27
Current Invoice $4,079.70
Total Balance Due This Matter $5,110.97

PLEASE REMIT WITH PAYMENT

P Anchorage L New York » Soattle
| Belevue | Portland | Shanghai

| Los Angeles, | San Prancisoo Washington, D.C, wan dwt corm
Case 08-13141-BLS Doc 10056-2

5 8 DavisWright

Filed 10/24/11 Page 20 of 36

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

ef Tremaine Lie

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

March 31, 2011

Los Angeles Times Communications LLC
Invoice No. 5962386

Attn: Julie Xanders, Esq.
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000383
Adjudication Matters
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/10/11 K. Henry 0.20 Review publication documents and oversee preparation
of proof of publication for filing
02/14/11 K. Henry 1.00 Prepare for hearing on La Canada Valley Sun's
adjudication petition
02/15/11 K. Henry 2.00 Attend hearing on La Canada Valley Sun's
adjudication petition
Total Hours Worked 3.20
DISBURSEMENT DETAIL
DESCRIPTION QUANTITY AMOUNT
Filing fee - - NATIONWIDE LEGAL INC - 12/20/10 LASC 1 490.00
per E. Duncan
Parking -- Karen Henry 02/15/2011 I 24.00
Total Current Disbursements $514.00

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

» Anchorage » New York | Seattle
: Ballevue | Portland | Shanghai

| Les Angeles ) San Francisco » Washington. 0.C. ww dwt oom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 21 of 36

i. Davis Wright
uF Tremaine Lie

Suite 2200

1201 Third Avenue

Seattle, WA

98101-3045

206.622.3150 tel

206.757.770

Federal ID #

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services
Less Agreed Discount
Adjusted Current Services

Total Current Disbursements

Total Current Invoice

$1,200.00
(120.00)
1,080.00

$1,594.00

0 fax

XX-XXXXXXX

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Associate
Henry, K. 3.20 337.50 1,080.00
Total 3.20 1,080.00
Total All Classes 3.20 $1,080.00
STATEMENT OF ACCOUNT
Balance from Previous Statement $12,122.24
Current Invoice $1,594.00
Total Balance Due This Matter $13,716.24

PLEASE REMIT WITH PAYMENT

: New Your
» Portland
San Prancece

| Anchorage

Low 5 Ange Aes

Seattle

SAanghal

Washingtan. 0.C.

wow chet com
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 22 of 36

™! Davis Wright 1208 hed Avenue
Lis Tremaine LLP Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962387
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000385
Long Beach Police Association
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/04/11 K. Sager 0.40 Discussion with G. Cummins regarding writ amici and

communicate with J. Glasser regarding same
02/08/11 K. Sager 0.20 Communicate with G. Cummins and communicate

with J. Glasser regarding writ
02/08/11 J. Glasser 0.10 Correspondence with Ms. Cummins and K. Sager

regarding media amici brief and briefing in LA
Superior Court

02/09/11 K. Sager 0.30 Review draft amici letter and communications with
team

02/09/11 A. Wickers 0.10 Telephone call to opposing counsel regarding status of
writ petition

02/10/11 A. Wickers 0.10 Telephone call from Ms. Checel regarding writ petition

and communicate with Ms. Goller and Ms. Cummins
regarding same

02/17/11 A. Wickers 0.90 Telephone calls with city attorneys from other
jurisdictions regarding case (.5); review publications
setting forth cities’ views on issue (.2); communicate
with Ms. Goller and team regarding same (.2)

02/20/11 K. Sager 0.20 Communicate with J. Glasser regarding writ/response

02/23/11 K. Sager 0.90 Review and circulate notice of appeal and review trial
court order (.2); review Court of Appeal order and
communications with Ms. Goller, A. Wickers, J.
Glasser regarding same and regarding writ of

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

| Apchorage - New York Seattle
) Bellevue _ Portlanc _ Shanghai
» Los Angeles : San Francisco > Washington, D.C. ww Pwtcon
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 23 of 36
a * * j
[i Davis Wright 1201 Phin Avenue
; Seattle, WA 98101-3045
as Iremaine.ie

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
supersedeas (.7)

02/23/11 A. Wickers 0.60 Review order from Court of Appeal and City's writ
papers (.5); communicate with K. Sager regarding
same (.1)

02/23/11 J. Glasser 2.30 Communicate with K. Sager and A. Wickers regarding

court order by Second Appellate District regarding stay
and related review of docket (.1); research and draft
memorandum on automatic stay issue (2.2)

02/24/11 K. Sager 0.30 Communicate with A. Wickers and J. Glasser
regarding writ from Long Beach Police Officer's
Association (.1); review E-mail memorandum from J.
Glasser regarding stay (.2)

02/24/11 A. Wickers 0.80 Research and analyze response to stay and notice of
appeal (.3); review POA's writ petition (.5)
02/24/11 J. Glasser 1.80 Research and draft memorandum concerning automatic

stay (1.4); correspondence with K. Sager and A.
Wickers regarding NY cases and related review of two
opinions (.2); correspondence with Ms. Cummins and
Mr. Bibring (.2)

02/26/11 J. Glasser 0.50 Review writ petition filed by city of Long Beach
02/28/11 A. Wickers 0.20 Communicate with J. Glasser regarding issues for
preliminary opposition
02/28/11 J. Glasser 2.60 Review writ petitions filed by City of Long Beach and
LBPOA and research and draft preliminary writ
opposition
Total Hours Worked 12.30
DISBURSEMENT DETAIL
DESCRIPTION QUANTITY AMOUNT
Photocopy Charges 616 61.60
Filing fee - - US LEGAL MANAGEMENT SERVICES INC - 1 642.52
1/11/11 LASC per C. Solano
Legal process server service - - US LEGAL MANAGEMENT 1 214.26
SERVICES INC - 1/11/11 James Trot per C. Solano
Legal process server service - - US LEGAL MANAGEMENT 1 65.00
SERVICES INC - 1/11/11 Robert Shannon per C. Solano
Outside delivery service - - US LEGAL MANAGEMENT 1 32.25

SERVICES INC - 1/11/11 LASC per C. Solano
PLEASE REMIT WITH PAYMENT

Anchorage ( New York Seatile
| Bellevue | Portland Shanghai
» Los Anqgeies » San Francisco » Washington. 0.C. woe dwt com
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 24 of 36

s @ Davis Wright
L!! Tremaine tip

Parking -- Alonzo Wickers 01/18/2011
Parking -- Alonzo Wickers 01/24/2011

Total Current Disbursements

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

| 12.00
] 4.50
$1,032.13

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services

Less Agreed Discount

Adjusted Current Services

Total Current Disbursements

Total Current Invoice

$5,110.50

(511.05)
4,599.45
1,032.13

$5,631.58

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Partner
Sager, K. 2.30 522.00 1,200.60
Wickers, A. 2.70 468.00 1,263.60
Total 5.00 2,464.20
Associate
Glasser, J. 7.30 292.50 2,135.25
Total 7,30 2,135.25
Total All Classes 12.30 $4,599.45
PLEASE REMIT WITH PAYMENT
) Anchorage | New York Seattle
| Bellevue i Portland : Shanghai

| Los Angeles | San Francisoo

| Washington. D.C.

wee cdwtcom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 25 of 36

Davis Wright
Tremaine Lip

L

STATEMENT OF ACCOUNT

Balance from Previous Statement

Current Invoice

Total Balance Due This Matter

PLEASE REMIT WITH PAYMENT

L Anchorage New York Seattle
| Bellevue Portianet Shanghai
Las Arjpalos | San Francisco Washington, D.C.

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

$15,233.76

$5,631.58

$20,865.34

woe cPWE Cor
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 26 of 36

i Davis Wright 11 Avenue
as Iremaine Lie cattle,

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962388
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-0003 87
Dorn

DISBURSEMENT DETAIL

DESCRIPTION QUANTITY AMOUNT
Filing fee - - US LEGAL MANAGEMENT SERVICES INC - 1 513.70
1/7/11 LASC per C. Solano
Filing fee - - US LEGAL MANAGEMENT SERVICES INC - 1 75.26
1/14/11 LASC per C. Solano
Legal process server service - - US LEGAL MANAGEMENT 1 67.98
SERVICES INC - 1/7/11 Vicki Greene per C. Solano
Legal process server service - - US LEGAL MANAGEMENT ] 67.98
SERVICES INC - 1/7/11 Meyer Olson Lowly per C. Solano
Legal process server service - - US LEGAL MANAGEMENT | 67.98
SERVICES INC - 1/14/11 Vicki Greene per C. Solano
Legal process server service - - US LEGAL MANAGEMENT 1 53.27
SERVICES INC - 1/14/11 Meyer Olson Lowly per C. Solano
Legal process server service - - US LEGAL MANAGEMENT I 68.77
SERVICES INC - 1/14/11 Ruth Lynn Estep per C. Solano
Outside search service - - US LEGAL MANAGEMENT 1 73.20
SERVICES INC - 1/4/11 LASC per C. Solano

Total Current Disbursements $988.14

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

| Anchorage | New York Seatie
| Bellevue ) Portland | Shanghai
| Los Angeles | San Francisco Washington, O.C. wew.dwtocom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 27 of 36

[a Davis Wright
ss lremaine ip
Los Angeles Times Communications LLC

Invoice No. 5962388

Page No. 2
TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $0.00

Less Agreed Discount 0.00

Adjusted Current Services 0.00

Total Current Disbursements 988.14

Total Current Invoice $988.14

STATEMENT OF ACCOUNT

Balance from Previous Statement $14,381.98
Current Invoice $988.14

Total Balance Due This Matter $15,370.12
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 28 of 36

. 2 y avis Wrig ht 1201 Ths Avon 3045
af Tremaine Lip a

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962389
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000388
1 800 GET THIN, LLC
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/05/11 K. Sager 1.00 Review retraction demand and review and revise
response letter
02/07/11 J. Glasser 0.30 Call with Ms. Goller concerning revisions to response

letter concerning trademark issues and Mr. Pfeifer's
article and related revising of letter

02/08/11 K. Sager 0.20 Review e-mail correspondence from R. Silverman and
communicate with clients regarding same
02/09/11 K. Sager 0.60 Review communications from R. Silverman and

finalize response (.4); review communications from
Mr. Pfeifer (.2)

02/14/11 K. Sager 0.30 Review new retraction demand (February 8) and
communicate with team regarding same
02/14/11 L. Kohn 0.30 Review 2/8/11 retraction demand from 1-800-GET

THIN, LLC (.2); communicate with K. Sager regarding
response (.1)

02/16/11 K. Sager 0.30 Communicate with Ms. Goller regarding connections
between doctors and 1-800-GET-THIN

02/23/11 K. Sager 0.20 Communicate with client and team regarding Los
Angeles Business Journal article

02/25/11 L. Kohn 1.10 Draft response to 2/8/11 retraction demand from |-

800-GET THIN, LLC
Total Hours Worked 4,30

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

| Anchorage i New York Seattle
: Belevue | Portland _ Shanghai
» Los Angeles | San Francisco » Washingtamn. 0.0. ww dat corn
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 29 of 36

yt Davis Wright
Li! Tremaineitp

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

DISBURSEMENT DETAIL

DESCRIPTION

Lexis-Nexis (billed at cost) computerized legal research
01/10/11 per W. Gonzaque

Lexis-Nexis (billed at cost) computerized legal research
01/10/11 per W. Gonzaque

Lexis-Nexis (billed at cost) computerized legal research
01/10/11 per W. Gonzaque

Lexis-Nexis (billed at cost) computerized legal research
01/10/11 per W. Gonzaque

West Publishing (billed at cost) computerized legal research
02/15/11 per H. Rose

Total Current Disbursements

QUANTITY AMOUNT
1 45.07

1 62.50

1 87.50

] 125.65

1 62.41

$383.13

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services
Less Agreed Discount
Adjusted Current Services

Total Current Disbursements

Total Current Invoice

$2,025.50
(202.55)
1,822.95

$2,206.08

SUMMARY BY PROFESSIONAL

Bill Amount

Professional Hours Worked Billed Per Hour
Partner
Sager, K. 2.60 522.00 1,357.20
Total 2.60 1,357.20
PLEASE REMIT WITH PAYMENT
) Anchorage _ New York » Searle
/ Bellevue i Portlanet » Shanghai
) Las Angetes. | San Francisco Washington. D.C, www dwt.com
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 30 of 36

ff Davis Wright 120 hd venue
as 1remaine.eip eae

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Associate
Glasser, J. 0.30 292.50 87.75
Kohn, L. 1.40 270.00 378.00
Total 1.70 465.75
Total All Classes 4.30 $1,822.95
STATEMENT OF ACCOUNT
Balance from Previous Statement $7,703.20
Current Invoice $2,206.08
Total Balance Due This Matter $9,909.28
PLEASE REMIT WITH PAYMENT
| Anchorage 2 New York Seattle
Bellevue i Portland | Shanghai

| Los Angeles | San Francisco > Washington. 0.C. www dwtcom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 31 of 36

is Davis Wright "201 Thi. Avenue
as Iremainetipe eat,

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC March 31, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5962390
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No. 0026175-000390

Atul Madan, M.D.

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

02/24/11 K. Sager 0.30 Review retraction demand of Dr. Madan (Lap Band
surgeon) and communicate with Ms. Goller regarding
same

02/24/11 L. Kohn 0.20 Review retraction demand of Dr. Atul Madan

02/26/11 K. Sager 0.40 Communicate with Ms. Goller regarding retraction
demand and review article

02/28/11 L. Kohn 4.40 Draft response to Dr. Atul Madan's retraction demand

Total Hours Worked $.30

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

D Anchorage i New York i Seatie
| Bellevue | Portland | Shanghai
| Los Angeles | San Francisco 2 Washington, 0.0. www. dwt conn
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 32 of 36

ii Davis Wright
a! Tremaine LLP

Suite 2200

1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services

Less Agreed Discount

Adjusted Current Services

Total Current Disbursements

Total Current Invoice

$1,860.00
(252.60)
1,607.40

$1,607.40

SUMMARY BY PROFESSIONAL

Bill Amount

PLEASE REMIT WITH PAYMENT

: Anchorage | New York
» Bolevue

» Los Angeles,

| San Francisco

i Seattle
> Shanghai
| Washington. 0.C.

Professional Hours Worked Billed Per Hour
Partner
Sager, K. 0.70 $22.00 365.40
Total 0.70 365.40
Associate
Kohn, L. 4.60 270.00 1,242.00
Total 4.60 1,242.00
Total All Classes 5.30 $1,607.40
STATEMENT OF ACCOUNT
Current Invoice $1,607.40
Total Balance Due This Matter $1,607.40

ww awh com
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 33 of 36

[i Davis Wright 120% Ta Avene
as IremaineLie mane

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Tribune Co. March 31, 2011
Attn: David Eldersveld, Esq. Invoice No. 5962394
General Counsel

435 N. Michigan Ave.

Chicago, IL 60611

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0041033-000020
Los Angeles General Advice
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/01/11 R. London 0.80 Teleconference with Ms. Flax regarding membership

calls on behalf of Better Business Bureau of Chicago;
research relating to same

02/02/11 R. London 0.20 Follow-up e-memo to Ms. Flax regarding calls on
behalf of BBB Chicago
02/03/11 L. Woods 0.20 Communicate with R. London regarding charitable
solicitation laws
02/04/11 R. London 0.20 Review and forward to Ms. Flax additional input on
BBB calls
Total Hours Worked 1.40

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

D Anchorage 1 New York ) Seattle
| Bollevue » Portlane » Shanghai
Los Angeles | San Francisos Washington, D.C, wer Gat com
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 34 of 36

5) DavisWright
Lis Tremaine tip

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Total Current Services $701.00
Less Agreed Discount (70.10)
Adjusted Current Services 630.90
Total Current Disbursements 0.00
Total Current Invoice $630.90

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Partner
Woods, L. 0.20 562.50 112.50
Total 0.20 112.50
Of_Counsel
London, R. 1.20 432.00 518.40
Total 1.20 518.40
Total All Classes 1.40 $630.90
STATEMENT OF ACCOUNT
Balance from Previous Statement $2,222.81
Current Invoice $630.90
Total Balance Due This Matter $2,853.71

PLEASE REMIT WITH PAYMENT

L Anchorage ) New York Seatie
) Bellevue _ Portlanc Shanghai
| Los Ancpoles: | San Francisco Washington, OC

weayw dw oom
Case 08-13141-BLS Doc 10056-2 Filed 10/24/11 Page 35 of 36

is Davis Wrig ht 1201 oar Avenue
aD

; Seattle, WA 98101-3045

Tremaine LLP

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Karlene W. Goller, Esq. March 31, 2011
Vice President & Deputy General Counsel Invoice No. 5962399
Los Angeles Times Communications LLC SENT ELECTRONICALLY

145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012

MARCH INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

ELECTRONIC BILLING - DO NOT MAIL
FOR FILING PURPOSES ONLY

Matter No. 0026175-000351

Bonds Juror Questionnaire Access

0000001898

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
02/08/11 D. Carolan 1.20 Review recent case law on access to juror

questionnaires (0.8); confer with prosecutor regarding
questionnaire issue (0.2); email clients regarding
approach (0.2)

02/09/11 D. Carolan 1.20 Draft follow-up letter to court regarding access to
questionnaires (0.9); communicate with clients
regarding approach to getting access motion back
before court (0.3)

02/10/11 D. Carolan 0.60 Finalize follow-up letter to court regarding hearing on
motion to unseal grand juror questionnaires
02/28/11 D. Carolan 0.20 Follow up with court clerk regarding request for
hearing on access to juror questionnaires
Total Hours 3.20
DISBURSEMENT DETAIL

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

( Anchorage | New York | Seattle
| Bellevue | Portiane © Shanghai
| Los Angeles » San Francisco : Washington. D.C, www dwtcam
Case 08-13141-BLS Doc 10056-2

Davis Wright

—
Li Tremaine Lite

DESCRIPTION
Copying Charges

Total Current Disbursements

Filed 10/24/11 Page 36 of 36

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

QUANTITY AMOUNT
68 10.20
10.20

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services

Total Current Disbursements

Total Current Invoice

Your Portion of Amount Due (Split)

$1,744.00

$1,754.20

$224.73

SUMMARY BY PROFESSIONAL

Professional Hours Worked _ Billed Per Hour Bill Amount
Partner
D. Carolan 3.20 545.00 1,744.00
Total 3.20 1,744.00
Total All Classes 3.20 $1,744.00
STATEMENT OF ACCOUNT
Balance from Previous Statement $721.17
Less Payments Received as of 09/30/09 - ($721.17)
TRIBUNE - ACH PAYMENT
Current Invoice $224.73
Total Balance Due This Matter $224.73

PLEASE REMIT WITH PAYMENT

D Anchorage D New York Seattle
| Bellevue » Partland Shanghai
Los Ancedes ) San Francia Washington. OC.

Wayw Yh carn
